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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

Demont Goudy, as father and                )
next friend of L.G., a minor;              )
TABITHA SMITH, as mother                   )
and next friend of A.C., a minor;          )
MIREYA RIVERA, as mother                   )
and next friend of R.R., a minor; and      )             16 C 8676
JENNIFER JOHNSON, as mother                )
and next friend of N.D., a minor;          )             Judge
individually and on behalf of              )             Magistrate Judge
all others similarly situated,             )
                                           )
        Plaintiffs,                        )
                                           )
              v.                           )
                                           )
TIMOTHY EVANS, in his official capacity )
as the Chief Judge of the Circuit Court of )
Cook County; LEONARD DIXON, in his         )
official capacity as Superintendent of the )
Cook County Juvenile Temporary Detention )
Center; and COOK COUNTY,                   )
                                           )             Jury Trial Demanded
        Defendants.                        )
                                           )

                            CLASS ACTION COMPLAINT

       Plaintiffs Demont Goudy, as father and next friend of L.G.; Tabitha Smith, as

mother and next friend of A.C.; Mireya Rivera, as mother and next friend of R.R.;

and Jennifer Johnson, as mother and next friend of N.D.,1 individually and on

behalf of all others similarly situated, complain against Defendants Chief Judge of

the Circuit Court of Cook County Timothy Evans, Superintendent of the Juvenile

Temporary Detention Center Leonard Dixon and Cook County as follows:

1       L.G., A.C., R.R., and N.D., are minors. Pursuant to Federal Rule of Civil Procedure
5.2(a)(3), they are identified by their initials.
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                                   Nature of the Case

       1.     This is an action for money damages, declaratory relief and injunctive

relief brought pursuant to 42 U.S.C. § 1983. Plaintiffs, individually and on behalf of

the class they seek to represent, allege violations of their rights under the Fourth

Amendment of the United States Constitution.

       2.     The Circuit Court of Cook County Juvenile Justice Division is

responsible for conducting detention hearings2 for juveniles arrested without a

warrant and detained in anticipation of juvenile delinquency court proceedings. The

Juvenile Justice Division only conducts detention hearings on business days and

does not make any arrangements for juveniles arrested on weekends or court

holidays to be brought before a judge for a determination of probable cause to detain

until the next regular business day.

       3.     Minors who are arrested by any police department in Cook County and

held in custody in anticipation of juvenile delinquency court proceedings are

typically imprisoned in the Cook County Juvenile Temporary Detention Center

(“JTDC”), located at 1100 S. Hamilton Avenue, Chicago, Illinois. The JTDC

routinely holds minors in custody over weekends and court holidays.

       4.     The policies of the Juvenile Justice Division and the JTDC routinely

result in juveniles’ being detained for more than 48 hours without any probable

cause hearing in direct contravention of the Supreme Court’s mandate in County of

Riverside v. McLaughlin, 500 U.S. 44, 57 (1991).

2     Under Illinois law, “detention hearing” is the term used to describe an initial court
appearance to determine probable cause to detain a juvenile arrested without a warrant.
705 ILCS 405/5-407.


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      5.     Plaintiffs Demont Goudy on behalf of his minor son L.G.; Tabitha

Smith, on behalf of her minor son A.C.; Mireya Rivera, on behalf of her minor son

R.R.; and Jennifer Johnson, on behalf of her minor son N.D. challenge the

constitutionality of these policies and practices. Pursuant to these policies and

practices, the named Plaintiffs were each detained at the JTDC for more than 55

hours without any judicial determination of probable cause.

      6.     As set forth in more detail below, there are two parties responsible for

the unlawful detentions of the Plaintiffs.

      (a)    Defendant Timothy Evans is the Chief Judge of the Circuit Court of
             Cook County. He has final responsibility for setting court schedules for
             the Juvenile Justice Division, including the time and frequency of
             detention hearings; and

      (b)    Defendant Leonard Dixon is the Superintendent of the Juvenile
             Temporary Detention Center. Dixon is the top official in charge of
             administration and management of all operations of the JTDC and has
             final authority to set policies regarding custody of minors at the JTDC.

      7.     The challenged policy and practice of providing detention hearings for

minors only on business days is authorized (but not required) by Illinois law, which

mandates that “[m]inors shall be brought before a judicial officer within 40 hours,

exclusive of Saturdays, Sundays, and court-designated holidays, for a detention

hearing to determine whether he or she shall be further held in custody.” 705 ILCS

405/5-407.

      8.     In the face of similar state laws purporting to authorize detention of

minors without a hearing on weekends or court holidays, the Department of Justice

has admonished that jurisdictions that fail to provide arrested minors a hearing




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within 48 hours—including weekends and holidays—violate minors’ Fourth

Amendment rights. See, e.g., U.S. DOJ Investigation of the Shelby County Juvenile

Court, April 4, 2012 (“We recognize that a Tennessee statute allows a child to be

detained for three days, or even longer, before requiring a detention hearing and

probable cause determination. … However, to meet requirements of the Fourth

Amendment, JCMSC must follow the 48-hour timeline under Riverside, not the

state statute.”) (available at:

https://www.justice.gov/sites/default/files/crt/legacy/2012/04/26/shelbycountyjuv_fin

dingsrpt_4-26-12.pdf).

       9.     Likewise, several courts have held that the requirement of a prompt

determination of probable cause applies to minors held in juvenile detention

facilities. RWT v. Dalton, 712 F. 2d 1225 (8th Cir. 1983) (“juveniles who are

detained because they are suspected of committing criminal acts must be afforded a

prompt probable-cause hearing. … Although [Gerstein v.] Pugh, [420 U.S. 103

(1975)] involved only the right of adults to a probable-cause hearing, we believe that

the right must be extended to juveniles as well.”); In re S.J., 686 A.2d 1024, 1026 &

n.6 (D.C., 1996) (“the trial court was without authority to order the detention of

[minor] appellant for the period of time ordered here without a finding that there

was probable cause….”); State in Interest of K.W., 137 So. 3d 798, 800 (2014) (“The

bedrock constitutional protections contained in the [McLaughlin] decision also

apply to juveniles in delinquency proceedings.”)




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                               Jurisdiction and Venue

         10.   Jurisdiction for Plaintiffs’ federal claims is based on 28 U.S.C. §§ 1331

and 1343(a).

         11.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that

the claims arose in this district as alleged below.

                                         Parties

         12.   Plaintiff Demont Goudy is a resident of Chicago, Illinois. He is the

father and next friend of L.G. who resides with him in Chicago.

         13.   Plaintiff Tabitha Smith is a resident of Chicago, Illinois. She is the

mother and next friend of A.C., her minor son, who resides with her in Chicago.

         14.   Plaintiff Mireya Rivera is a resident of Chicago, Illinois. She is the

mother and next friend of R.R., her minor son, who resides with her in Chicago.

         15.   Plaintiff Jennifer Johnson is a resident of South Elgin, Illinois. She is

the mother and next friend of N.D., her minor son, who resides with her in South

Elgin.

         16.   Defendant Timothy Evans is the Chief Judge of the Circuit Court of

Cook County. Plaintiffs sue Chief Judge Evans in his official capacity. Pursuant to

Article VI, §7(c) of the Illinois Constitution, Chief Judge Evans has general

administrative authority over the operations of the Circuit Court of Cook County,

including the Juvenile Justice Division. His constitutional authority includes the

obligation to “provide for ... appropriate times and places of holding court.” Id. As

the Chief Judge, Evans has final authority to set court schedules for the Juvenile




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Justice Division, including the dates, times and schedules for holding detention

hearings.

      17.    Defendant Leonard Dixon is the Superintendent of the Juvenile

Temporary Detention Center. Plaintiffs sue Dixon in his official capacity. Pursuant

to 55 ILCS 75/3(b), Dixon has been appointed to oversee, supervise and direct all

functions relating to the JTDC. As superintendent, Dixon is the highest decision-

maker with authority over the JTDC, and he determines the policies of the JTDC

with respect to juvenile detainees’ custody and confinement.

      18.    Plaintiffs join Cook County, Illinois, pursuant to Carver v. Sheriff of

LaSalle County, 324 F.3d 947 (7th Cir. 2003). The operations of the JTDC and the

Circuit Court of Cook County are ultimately the financial responsibility of Cook

County.

      19.    Count I is brought as a class action pursuant to Rule 23(b)(2) of the

Federal Rules of Civil Procedure because Defendant Chief Judge Evans has acted

on grounds generally applicable to the class, thereby making appropriate final

injunctive and declaratory relief with respect to the class as a whole on Count I of

this Complaint. L.G., A..C., R.R., and N.D. seek to represent a class of similarly

situated juveniles who are currently (or will be in the future) detained at the JTDC

on a weekend and/or court holiday pending a judicial determination of probable

cause in the Juvenile Justice Division. L.G., A.C., R.R., and N.D. seek injunctive

and declaratory relief against Defendant Chief Judge Evans on behalf of the class.




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                              Factual Allegations: L.G.

        20.   L.G., who is 17 years old, was arrested by Chicago police on Friday,

September 2, 2016, at approximately 7 p.m.

        21.   The arresting officers did not have a warrant calling for L.G.’s arrest.

        22.   Chicago police transported L.G. to the JTDC from a Chicago police

station in the early morning hours of Saturday, September 3, 2016.

        23.   At the time of the filing of this complaint, L.G. is currently being held

in the custody of the JTDC and has not yet received a detention hearing or any

other judicial determination of probable cause.

        24.   L.G. has been in the custody and control of the JTDC from the early

morning hours of Saturday, September 2, 2016, to the present.

        25.   L.G. has been detained in excess of 70 hours without any judicial

determination of whether there is probable cause to detain. L.G. was not taken to

appear before a judge for a hearing to determine probable cause any time on

Saturday, September 3, 2016; Sunday, September 4, 2016; or Monday, September 5,

2016.

        26.   JTDC officials have held L.G. for more than 70 hours without a

probable cause determination pursuant to Defendant Chief Judge Evans’ and

Defendant Superintendent Dixon’s unconstitutional policies.

        27.   As a direct and proximate result of the acts of the Defendants

described above, L.G. suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.




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                             Factual Allegations: A.C.

      28.    A.C., who is sixteen years old, was arrested by Chicago police on

Friday, July 29, 2016, at approximately 10:30 p.m.

      29.    The arresting officers did not have a warrant calling for A.C.’s arrest.

      30.    Chicago police transported A.C. to the JTDC from a Chicago police

station in the early morning hours of Saturday, July 30, 2016.

      31.    A.C. was held at the JTDC until approximately noon on Monday,

August 1, 2016.

      32.    A.C. was in the custody and control of the JTDC from the early

morning hours of Saturday, July 29, 2016, to approximately noon on Monday,

August 1, 2016.

      33.    A.C. was detained at the JTDC in excess of 55 hours without any

judicial determination of whether there was probable cause to detain. JTDC officials

did not take A.C. to appear before a judge for a hearing to determine probable cause

any time on Saturday, July 29, 2016, or Sunday, June 30, 2016.

      34.    On Monday, August 1, 2016, at approximately 11:00 a.m., JTDC staff

brought A.C. to the Juvenile Justice Division for a detention hearing. Following that

hearing, A.C. was released from the JTDC to his mother’s custody.

      35.    JTDC officials held A.C. for more than 55 hours without a probable

cause determination pursuant to Defendant Chief Judge Evans’ and Defendant

Superintendent Dixon’s unconstitutional policies.




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      36.       As a direct and proximate result of the acts of the Defendants

described above, A.C. suffered damages including loss of physical liberty, physical

pain and suffering, and emotional distress.

                               Factual Allegations: R.R.

      37.       R.R., who is seventeen years old, was arrested by Chicago police on

Friday, July 1, 2016, at approximately 8:30 p.m.

      38.       The arresting officers did not have a warrant calling for R.R.’s arrest.

      39.       Chicago police transported R.R. to the JTDC from a Chicago police

station in the early morning hours of Saturday, July 2, 2016.

      40.       Over the July 4th holiday weekend, the Juvenile Justice Division did

not hold detention hearings on Saturday, July 2, 2016; Sunday, July 3, 2016; or

Monday, July 4, 2016.

      41.       R.R. was held at the JTDC until approximately 11:30 a.m. on Tuesday,

July 5, 2016.

      42.       R.R. was in the custody and control of the JTDC from the early

morning hours of Saturday, July 1, 2016, to approximately 11:30 a.m. on Tuesday,

July 5, 2016.

      43.       JTDC officials detained R.R. in excess of 72 hours without any judicial

determination of whether there was probable cause to detain. R.R. was not taken

before a judge for a hearing to determine probable cause any time on Saturday, July

2, 2016; Sunday, July 3, 2016; or Monday, July 4, 2016.




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        44.   On Tuesday, July 5, 2016, at approximately 11:00 a.m., JTDC staff

brought R.R. to the Juvenile Justice Division for a detention hearing. Following that

hearing, R.R. was released from the JTDC to his mother’s custody.

        45.   JTDC officials held R.R. for more than 72 hours without a probable

cause determination pursuant to Defendant Chief Judge Evans’ and Defendant

Superintendent Dixon’s unconstitutional policies.

        46.   As a direct and proximate result of the acts of the Defendants

described above, R.R. suffered damages including loss of physical liberty, physical

pain and suffering, and emotional distress.

                             Factual Allegations: N.D.

        47.   N.D., who is seventeen years old, was arrested by Village of

Streamwood police on Friday, June 12, 2015, at approximately 11:00 p.m.

        48.   The arresting officers did not have a warrant calling for N.D.’s arrest.

        49.   Streamwood police transported N.D. to the JTDC from the

Streamwood Police Department at approximately 3:00 a.m. on Saturday, June 13,

2015.

        50.   N.D. was held at the JTDC until approximately noon on Monday, June

15, 2015.

        51.   N.D. was in the custody and control of the JTDC from the early

morning hours of Saturday, June 13, 2015 to approximately noon on Monday, June

15, 2015.




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      52.    N.D. was detained in excess of 55 hours without any judicial

determination that there was probable cause to detain. N.D. was not taken to

appear before a judge for a hearing to determine probable cause to detain any time

on Saturday, June 13, Sunday June 14, or Monday, June 15.

      53.    On Monday, June 15 around noon, N.D. was released to his mother’s

custody from the JTDC without any criminal charges and without ever being

brought to appear before a judge.

      54.    JTDC officials held N.D. for more than 55 hours without a probable

cause determination pursuant to Defendant Chief Judge Evans’ and Defendant

Superintendent Dixon’s unconstitutional policies.

      55.    As a direct and proximate result of the acts of the Defendants

described above, N.D. suffered damages including loss of physical liberty, physical

pain and suffering, and emotional distress.

    Defendant Superintendent Dixon’s Liability to the Named Plaintiffs

      56.    It is well established that individuals arrested without a warrant are

entitled to a judicial determination of probable cause within 48 hours.

      57.    It is the common, widespread and well-settled practice that juveniles

transferred from police custody to the JTDC on weekends or holidays are detained

in excess of 48 hours without a judicial determination of probable cause. This

practice is so widespread and well settled that it constitutes a custom or usage with

the force of law even though it has not been reduced to a written policy.




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      58.    At all times relevant to the detention of the named Plaintiffs,

Defendant Superintendent Dixon knew that the Juvenile Justice Division did not

hold detention hearings on Saturdays, Sundays or court holidays. Defendant

Superintendent Dixon likewise knew that minors detained at the JTDC on

weekends and holidays, including the Plaintiffs, were being held in excess of 48

hours without a judicial determination of probable cause.

      59.    Although he knew or should have known that doing so would lead to

violations of juvenile detainees’ Fourth Amendment rights, Superintendent Dixon

nonetheless approved of and authorized the detention of minors at the JTDC on

weekends and holidays.

      60.    By approving, condoning and/or turning a blind eye to the widespread

violation of minors’ Fourth Amendment rights, Defendant Superintendent Dixon

acted and continues to act with deliberate indifference to the rights of L.G., A.C.,

R.R., N.D., and all other juveniles detained at the JTDC on weekends and holidays

      61.    Defendant Superintendent Dixon’s policy and practice described above

was the moving cause behind the unlawful detentions of L.G., A.C., R.R., and N.D.

      Defendant Chief Judge Evans’ Liability to the Named Plaintiffs
          and the Members of the Class they Seek to Represent

      62.    It is the common, widespread and well-settled practice in the Juvenile

Justice Division that detention hearings are only conducted on business days. This

practice is so widespread and well settled that it constitutes a custom or usage with

the force of law even though it has not been reduced to a written policy.




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         63.   Defendant Chief Judge Evans knows or should know that pursuant to

this practice, juveniles arrested on weekends or court holidays are routinely

detained in the JTDC for more than 48 hours without receiving a judicial

determination of probable cause in violation of their Fourth Amendment rights.

         64.   Defendant Evans acted and continues to act with deliberate

indifference to the rights of L.G., A.C., R.R., N.D., and all other juveniles detained

at the JTDC by failing to implement a court schedule that ensures that juveniles

arrested on weekends or court holidays receive a probable cause hearing within 48

hours.

         65.   The policy and practice described above was the moving cause behind

the violations of the Fourth Amendment rights of L.G., A.C., R.R., and N.D. and

current and future class members.

                                   Class Allegations

         66.   Pursuant to Fed. R. Civ. P. 23(b)(2), the named Plaintiffs seek

certification of Count I of this complaint as a class action. The named Plaintiffs seek

to represent a class consisting of:

               All juveniles who are currently detained or in the future will be
               detained at the JTDC on a weekend or court holiday pending a
               detention hearing to determine probable cause to detain.

         67.   The Plaintiff Class seeks a declaration that Defendant Chief Judge

Evans’ policy and practice of failing to provide detention hearings on weekends or

court holidays is unconstitutional because it results in routine violations of class




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members’ Fourth Amendment right to a prompt judicial determination of probable

cause.

         68.   The Plaintiff Class also seeks an injunction ordering Defendant Chief

Judge Evans to change the current policy and practice and to implement a schedule

for detention hearings in the Juvenile Justice Division that ensures minors

detained on weekends or holidays receive a prompt probable cause hearing.

         69.   The proposed class is numerous. In 2013, the last year for which the

Circuit Court of Cook County has made statistics available, the Juvenile Justice

Division conducted 6,036 probable cause hearings for juvenile arrestees held in

custody in Cook County. See,

http://www.cookcountycourt.org/Portals/0/Probation/Juvenile%20Probation/Program

%20Booklet%202014.pdf. Assuming that only 10 percent of those hearings were for

individuals arrested on a Friday (a conservative estimate) and taken for a hearing

the next regular business day, there are more than 600 class members each year.

         70.   Joinder of all class members is impracticable. Not only is the class

numerous, but membership in the class is also constantly changing. Any juvenile

arrested in Cook County may be placed in the JTDC pending a judicial

determination of probable cause. Accordingly, the membership of the class changes

on a weekly basis as individuals are arrested, detained, and released from custody.

         71.   There are questions of law and fact common to all class members,

including but not limited to:

         •     What is the current schedule in the Juvenile Justice Division for
               detention hearings;



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         •     Whether the Supreme Court’s mandate in County of Riverside v.
               McLaughlin, 500 U.S. 44, 57 (1991) that the Fourth Amendment
               requires a judicial determination of probable cause to detain within 48
               hours of arrest applies to minors held in juvenile detention facilities;

         •     Whether the Juvenile Justice Division’s policy of holding detention
               hearings only on regular business days violates the Fourth
               Amendment rights of juveniles held at the JTDC on weekends or court
               holidays;

         •     How quickly must a minor held in a juvenile detention facility receive
               a judicial hearing to satisfy Gerstein’s requirement of a “prompt”
               probable cause hearing.

         72.   All individuals falling within the class definition have been subject to

the same policy and practice. Given the commonality of the questions pertinent to

all class members, a single injunction or declaratory judgment would provide relief

to each member of the class.

         73.   Defendant Chief Judge Evans has acted and continues to act in a

manner adverse to the rights of the proposed class, making final injunctive and

declaratory relief appropriate with respect to the class as a whole.

         74.   Plaintiffs and the class they seek to represent have been directly

injured by Defendant Evans’ policies and practices and members of the class are

currently at risk of future harm from the continuation of these policies and

practices.

         75.   Plaintiffs will fairly and adequately represent the interests of the class

and the Plaintiffs’ claims are typical of the claims of all members of the proposed

class.




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       76.    Plaintiffs’ counsel are experienced in civil rights litigation, including

Monell claims, civil rights class actions, and Fourth Amendment cases alleging

excessive detentions. Plaintiffs’ counsel will fairly and adequately represent the

interests of the class.

                                   COUNT I
                  42 U.S.C. §1983: FOURTH AMENDMENT
 (Monell Official Capacity Claim Against Defendant Chief Judge Evans on
     behalf of L.G., A.C., R.R., N.D. and all others similarly situated)

       77.    Plaintiffs and the members of the class reallege and incorporate as if

fully set forth herein all of the allegations above.

       78.    As a direct and proximate result of Defendant Evans’ failure to

schedule probable cause hearings for minors detained on weekends and court

holidays, Plaintiffs and the members of the class have suffered a loss of their Fourth

Amendment right to a prompt judicial determination of probable cause to detain

after their arrests.

       79.    In the absence of injunctive and declaratory relief, the members of the

class will continue to suffer unreasonable deprivations of their liberty. The

members of the class have no adequate or complete remedy at law to address the

wrongs described herein. The injunctive and declaratory relief sought by the class is

necessary to prevent continued and future injury.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

       a)     Issue an order certifying this action to proceed as a class pursuant to
              Fed. R. Civ. P. 23(b)(2);

       b)     Appoint the undersigned as class counsel pursuant to Fed. R. Civ. P.
              23(g);



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      c)     Enter judgment declaring that Defendant Chief Judge Evans’ policies
             and practices described herein as applied to the class violate the
             Fourth Amendment of the U.S. Constitution;

      d)     Enter a preliminary and then permanent injunction prohibiting
             Defendant Chief Judge Evans from continuing the unconstitutional
             policies and practices identified herein;

      e)     Award Plaintiffs their reasonable attorneys’ fees and cost pursuant to
             42 U.S.C. § 1988, and other applicable law; and

      f)     Grant such other relief as this Court deems just and proper.


                                 COUNT II
                 42 U.S.C. §1983: FOURTH AMENDMENT
(Monell Official Capacity Claim Against Defendant Superintendent Dixon
                  on behalf of L.G., A.C., R.R., and N.D.)

      80.    Plaintiffs reallege and incorporate as if fully set forth herein all of the

allegations above.

      81.    As a direct and proximate result of Defendant Superintendent Dixon’s

deliberate indifference, Plaintiffs have suffered a loss of their Fourth Amendment

rights.

      82.    As a direct and proximate result of Defendant Superintendent Dixon’s

policies, the Plaintiffs have suffered damages including loss of physical liberty,

physical pain and suffering, and emotional distress.



      WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

      a)     Enter judgment declaring that Defendant Superintendent Dixon’s
             policies and practices described herein violate the Fourth Amendment
             of the U.S. Constitution;




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      b)    Award Plaintiffs compensatory and/or nominal damages;

      c)    Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to
            42 U.S.C. § 1988, and other applicable law; and

      d)    Grant such other relief as this Court deems just and proper.


      Plaintiffs demand trial by jury.


                                             Respectfully submitted,

                                             /s/ Adele D. Nicholas

                                             /s/ Mark G. Weinberg
                                             Counsel for Plaintiffs



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